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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK LED: if [s}acae

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UNITED STATES OF AMERICA . deeenperereeth
PROTECTIVE ORDER

Ll Gr. 409 (RMB)
STEPAN GILLIER,

Defendant.

THE HONORABLE RICHARD M. BERMAN, District Judge;

WHEREAS the United States of America intends to produce
to the defendant in the above-captioned matter in unredacted form
certain documents pursuant to Rule 16 of the Federal Rules of Criminal
Procedure that may contain personal identifying information and/or
other information relating to and identifying third parties,
including prior subjects of governmental investigation; and

WHEREAS pursuant to Rule 16(d}(1) and Title 18, United
States Code, Section 3771, the Government desires to protect the
confidentiality of the above-referenced materials, and for good
cause shown;

IT IS HEREBY ORDERED:

1. Discovery materials produced by the Government to the
defendant and his counsel (collectively, “the defense”) that are
either (1) designated in whale or in part as “Confidential” by the

Government in emails or communications to defense counsel, or

 
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{2) that include a Bates or other label stating “Confidential,” shall
be deemed “Confidential Material.”

2. Confidential Material disclosed to the defense
during the course of proceedings in this action:

(a) shali be used by the defense only for purposes
of this action;

{pb} shall be maintained in a safe and secure manner
solely by the defendant's counsel; shall not be possessed by the
defendant, except in the presence of the defendant's counsel; and
shali not be disclosed in any fotm by the defense except as set forth
in paragraph 2(d) below;

{c} shall not be copied or otherwise recorded by the
defense, but may be loaded onto secure databases or file-sharing
systems used by defendant's counsel to review discovery;

(d) may be disclosed only by the defendant’ s counsel
and only to the following persons {hereinafter “Designated
Persons}:

{i} secretarial, clerical, paralegal,
investigative, and student personnel, or
any interpreter or translator, employed
full-time or part-time by the defendant's

counsel;

 
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(ii) independent expert witnesses,
investigators, or advisors retained by the
defendant or on his behalf in connection
with this action;

(iii) prospective witnesses, and their counsel,
fo the extent deemed necessary by defense
counsel, for trial preparation; and .

(iv) such other persons as hereafter may be
authorized by the Government or by order
issued by the Court upon a motion by the
defendant; and

fe} shall be either (1) returned to the Government
following the conclusion of this case, including any appeals, within
30 days of the conclusion of the appeal, ar of the expiration of the
period for direct appeal from any verdict in the case; the period
of direct appeal from any order dismissing any of the charges in the
case; or the granting of any motion made on behalf of the Government
dismissing any charges in the above-captioned casé, whichever date
is later, tegether with any and all copies thereof; {ii) destroyed
together with any and all copies thereof, with defendant’s counsel
verifying in writing to the Government that such destruction has
taken place; or (i111) maintained by defendant’s counsel as required

by counsel’s duties and responsibilities as counsel, as the case may

 
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be, provided that defendant’s counsel maintain the Confidential
Information in accordance with Paragraph 2 (b).

3, The defendant and his counsel shall provide a capy
of this Order to Designated Persons to whom Confidential Material
is disciosed pursuant to paragraph 2(d). Designated Persons shall
be subject to the terms of this Order.

4. The provisions of this Order shall not be construed
as preventing the disclosure of any information in any motion,
hearing, trial, or sentencing proceeding held in this action, or any
appeal therefrom, or to any judge or magistrate of this Court for
purposes of this action, or any appeal therefrom.

5. With respect to Confidential Information, any
filings with any court shall be governed by Rule 49,1 of the Federal
Rules of Criminal Procedure,

6. This Order may be signed in counterparts and
transmitted by facsimile and/or electronic copy, each of which
counterparts will be deemed to be an original and which taken together
will constitute the Order.

7. The provisions of this order shall not terminate at
the conclusion of this criminal prosecution and the Court will retain
jurisdiction to enforce this Order following termination of the case.

8. Nothing in this Order shall preclude or otherwise
prejudice defense counsel from challenging the government’s

designation of any material as Confidential and seeking the Court's

 

 

 
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permission to treat such material as if it had not been go desiqnated.

While any such application is pending with the Court, defense counsel

will continue to treat the material at issue as Confidential under

the terms of this Order.

Dated:

New York,

New York

Noveniber ?, 2026

AGREED AND CONSENTED TO;

SO ORDERED:

Dated:

New York, New York
, 2020

November

By:

 

AUDREY STRAUSS
ACTING UNITED STATES ATTORNEY

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Sie EF hag
Michael D. Nefe&
Assistant United States Attorney

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Matthew J. Galluzzo, BSc.
Counsel for Stefan Gillier

Fethard N.Bacnses

THE HONORABLE RICHARD M. BERMAN
UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORK

 

 

 
